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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TERLATO WINE GROUP, LTD., a
Delaware corporation, RUTHERFORD
HILL WINERY, a California Corporation,                     Case No. 1:20-cv-05652
SANFORD WINERY COMPANY, a
California Limited Partnership.

       Plaintiffs,                                         Judge Manish S. Shah

               v.                                          Mag. Judge Jeffrey Cole

SYZYGY GLOBAL, INC., a Florida
corporation,

       Defendant.


                      DEAN W. FARLEY AND MUCH SHELIST, P.C.’S
                     MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       NOW COMES Counsel for Defendant, SYZYGY GLOBAL, INC. (“Syzygy”), and

pursuant to Local Rule 83.17 and Rule 74 of the Federal Rules of Civil Procedure, respectfully

requests that the Court grant attorney Dean W. Farley’s and the law firm of Much Shelist, P.C.’s

(“Counsel”) leave to withdraw their appearances as attorneys of record for Defendant Syzygy.

In support of this motion, Counsel states as follows:

       1.      On December 4, 2020, Counsel consulted with Plaintiff’s attorney, Mr. Rick

Meyer, via email and can represent that Plaintiff’s attorney takes no position on this instant

motion.

       2.      On October 23, 2020 Counsel filed its appearance on behalf of Syzygy to act as

local counsel for a lawsuit filed by Plaintiffs’ on September 23, 2020. Syzygy is located at 161

Commerce Road, Suite 1, Boynton Beach, Florida 33426.

       3.      Syzygy’s primary attorney and lead counsel is located in Florida.
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        4.     On November 23, 2020 Counsel filed a “Stipulation to Adjourn Dates for

Settlement” as a result of a settlement agreement that was reached between Syzygy and Plaintiffs

and negotiated by Syzygy’s Florida counsel and Plaintiffs’ counsel.

        5.     On November 25, 2020 this Court entered a Minute Order which ordered the

parties to file a joint status report or stipulation of dismissal by January 6, 2021 and, if necessary,

allowed Defendant until January 22, 2021 to respond to Plaintiffs’ complaint.

        6.     Counsel is advised that this lawsuit will continue, and further litigation will ensue.

        7.     Other than the joint status report date and responsive pleading date, there are no

other pending dates in this lawsuit and there is no pending hearing or trial.

        8.     No party will be prejudiced by the withdrawal of attorney Dean W. Farley or the

law firm of Much Shelist, P.C.

        WHEREFORE, Counsel, Dean W. Farley and Much Shelist, P.C., respectfully requests

that this Honorable Court grant the instant Motion for Leave to Withdraw as Counsel, and for any

other relief this Court may deem just and reasonable.



                                                        By:

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